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                                                                                                                       WWW.RIVKINRADLER.COM

                                                                                                                       25 Main Street
                                                                                                                       Court Plaza North, Suite 501
                                                                                                                       Hackensack, N J 07601-7082
                                                                                                                       T 201.287.2460 F 201.489.0495



    GENE Y. KANG
    Partner
    (201) 287-2489
    gene.kang@rivkin.com


                                                                         January 6, 2025

    VIA ECF
    Honorable John P. Cronan, U.S.D.J.
    United States District Court
    Southern District of New York
    500 Pearl St.
    New York, NY 10007-1312

                 Re:          Junsub Shim v. Luxury Asset Capital, LLC, et al.
                              Case No.: 1:24-cv-09738-JPC
                              Our File No.: 14724-1

    Dear Judge Cronan:

            We represent Plaintiff, Junsub Shim (“Plaintiff” or “Shim”) in connection with the above-
    referenced action. Pursuant to Fed. R. Civ. P. 5.2(d) and Section 4 of Your Honor’s Individual
    Rules and Practices in Civil Cases, we respectfully submit this letter motion seeking leave to file
    a redacted Amended Complaint and Jury Demand (“Amended Complaint”) and exhibits thereto.

            On December 11, 2024, Plaintiff filed a motion for leave to file a redacted Complaint and
    exhibits thereto. (See Case No. 1:24-mc-00580-VEC, D.E. 1). On December 13, 2024, the
    Honorable Valerie E. Caproni, U.S.D.J. granted, in part, Plaintiff’s application. (See Case No.
    1:24-mc-00580-VEC, D.E. 3). Here, Plaintiff seeks to redact the same confidential and personal
    information permitted by Judge Caproni that is contained in the Amended Complaint and attached
    exhibits.

            The Amended Complaint and exhibits contain: (i) confidential information concerning the
    purchase of the subject artwork, which if publicly disclosed, is likely to cause harm to the parties;
    and (ii) personal information of the parties. In particular:

           (i)          Exhibit A to the Amended Complaint is a copy of the Agreement of Sale (“Agreement”)
                        in connection with the purchase of the subject artwork, which contains confidential
                        information concerning the purchase price. The Agreement contains a confidentiality
                        provision in Paragraph 6, pursuant to which the Plaintiff and Defendant, Carmichael
                        Gallery, LLC (“Gallery”) agreed that “the subject matter of [the] Agreement, including
                        but not limited to . . . the Purchase Price, are confidential and each of the Buyer and



66 South Pearl Street, 11th Floor   1301 Riverplace Boulevard        477 Madison Avenue              2649 South Road                 926 RXR Plaza
Albany, NY 12207-1533               Jacksonville, FL 32207-9047      New York, NY 10022-5843         Poughkeepsie, NY 12601-6843     Uniondale, NY 11556-0926
T 518.462.3000 F 518.462.4199       T 904.792.8925 F 904.467.3461    T 212.455.9555 F 212.687.9044   T 845.473.8100 F 845.473.8777   T 516.357.3000 F 516.357.3333
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              Seller agrees not to disclose any of the foregoing information to any person or entity,
              except as may be required by law or with the written permission of the party.”

    (ii)      Exhibit B is a copy of the invoice for the subject artwork, which contains confidential
              information regarding the purchase price. It also contains confidential bank account
              information of the Gallery.

    (iii)     Exhibit C is a copy of a wire transfer confirmation, which contains the confidential
              purchase price for the artwork

    (iv)      Exhibit D is a copy of the registration card for the artwork and Plaintiff’s passport,
              which contains confidential personal information of the Plaintiff on his passport.

    (v)       The Amended Complaint contains confidential information relating to the purchase
              price of the artwork.1

        As discussed, Judge Caproni permitted redaction of the very information identified above
and sought to be redacted here. (See Case No. 1:24-mc-00580-VEC, D.E. 3). Further, “courts in
this Circuit routinely permit parties to redact sensitive financial information . . . . [including]
competitive pricing data . . . [and] project pricing[.]” Graczyk v. Verizon Communc’ns, Inc., No.
18-cv-6465, 2020 WL 1435031, at *9 (S.D.N.Y. Mar. 24, 2020) (citing In re Digital Music
Antitrust Litig., 321 F.R.D. 64, 82 n.1 (S.D.N.Y. 2017) and Hesse v. SunGard Systems Intern., No.
12-cv-1990, 2013 WL 174403 at *2-3 (S.D.N.Y. 2013)). Courts have also “permitted the filing
under seal of documents that include personal data, in order to prevent the unauthorized
dissemination of such data and to protect an individual's privacy interest in that data, or the privacy
interests of third parties.” In re B & C KB Holding GmbH, No. 22-mc-180, 2023 WL 2021299, at
*1 (S.D.N.Y. Feb. 14, 2023) (internal citations omitted).

        If the confidential information purchase price for the artwork is publicly disclosed, the
parties are likely to suffer harm, including losing the ability to competitively negotiate a future
sale of the artwork.2 Additionally, there is no need for personal data of the parties to be publicly
disseminated, which would harm the parties by making such information available to third parties.
The redactions sought in this motion are narrowly tailored to address the limited confidential
information contained in the documents.



1
  Pursuant to Section 4 of Your Honor’s Individual Rules and Practices in Civil Cases, a proposed
redacted version of the Amended Complaint with exhibits is attached hereto as Exhibit A.
2
  The Declaration of Junsub Shim (which was previously submitted in support of Plaintiff’s motion
to seal/redact in Case No. 1:24-mc-00580-VEC) refers to the Complaint, but the confidential
information discussed therein is the same as the confidential information in the Amended
Complaint.
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        Accordingly, we respectfully request that the Court grant this motion and permit the filing
of a redacted copy of the Amended Complaint and attached exhibits.

       We thank the Court for its attention to this matter.

                                             Respectfully submitted,
                                             RIVKIN RADLER LLP

                                             s/ Gene Y. Kang
                                                Gene Y. Kang
